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                            FOR PUBLICATION

           UNITED STATES COURT OF APPEALS
                FOR THE NINTH CIRCUIT

        KATHLEEN SONNER, on behalf of                      No. 18-15890
        herself and all others similarly
        situated,                                            D.C. No.
                           Plaintiff-Appellant,           3:13-cv-01271-
                                                                RS
                             v.

        PREMIER NUTRITION CORPORATION,                     ORDER AND
        FKA Joint Juice, Inc.,                              AMENDED
                        Defendant-Appellee.                  OPINION

                 Appeal from the United States District Court
                    for the Northern District of California
                  Richard Seeborg, District Judge, Presiding

                   Argued and Submitted December 3, 2019
                          San Francisco, California

                            Filed June 17, 2020
                          Amended August 20, 2020

               Before: Carlos F. Lucero, * Consuelo M. Callahan,
                      and Bridget S. Bade, Circuit Judges.

                                    Order;
                            Opinion by Judge Bade

           *
             The Honorable Carlos F. Lucero, United States Circuit Judge for
       the U.S. Court of Appeals for the Tenth Circuit, sitting by designation.
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                                 SUMMARY **


                                   Restitution

           The panel issued (a) an order amending its opinion filed
       on June 17, 2020, denying the petition for rehearing, and
       denying on behalf of the court the petition for rehearing en
       banc; and (b) an amended opinion affirming on different
       grounds the district court’s dismissal of plaintiff’s claims for
       restitution where plaintiff failed to demonstrate that she
       lacked an adequate legal remedy.

            Plaintiff brought a diversity action and sought $32
       million on behalf of a class of consumers, but as equitable
       restitution rather than as damages. The district court applied
       its interpretation of California law and dismissed plaintiff’s
       claims for restitution because there was an adequate remedy
       at law, i.e., damages, available.

           The panel held, as a threshold jurisdictional issue, that
       pursuant to Erie Railroad Co. v. Tompkins, 304 U.S. 64
       (1938), and Guaranty Trust Co. of New York v. York, 326
       U.S. 99 (1945), federal courts must apply equitable
       principles derived from federal common law to claims for
       equitable restitution under California’s Unfair Competition
       Law and Consumers Legal Remedies Act (“CLRA”). The
       panel held that state law cannot circumscribe a federal
       court’s equitable powers even when state law affords the rule
       of decision.



           **
              This summary constitutes no part of the opinion of the court. It
       has been prepared by court staff for the convenience of the reader.
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           The panel held that the district court did not abuse its
       discretion in denying plaintiff leave to amend her complaint
       for a third time to reallege the CLRA damages claim.


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                                 ORDER

          The opinion filed on June 17, 2020, and published at
       962 F.3d 1072, is amended by the opinion filed concurrently
       with this order.

          With these amendments, Judges Lucero, Callahan, and
       Bade vote to deny the petition for rehearing. Judges
       Callahan and Bade vote to deny the petition for rehearing en
       banc. The full court has been advised of the petition for
       rehearing en banc and no judge has requested a vote on
       whether to rehear the matter en banc. Fed. R. App. P. 35.
       Accordingly, Appellant’s petition for rehearing or rehearing
       en banc is DENIED. No further petitions for panel
       rehearing or rehearing en banc may be filed.



                                OPINION

       BADE, Circuit Judge:

            On the brink of trial after more than four years of
       litigation, Plaintiff-Appellant Kathleen Sonner voluntarily
       dismissed her sole state law damages claim and chose to
       proceed with only state law equitable claims for restitution
       and injunctive relief. A singular and strategic purpose drove
       this maneuver: to try the class action as a bench trial rather
       than to a jury. Indeed, Sonner continued to seek $32,000,000
       on behalf of the consumers she represented, but as equitable
       restitution rather than as damages. But, to Sonner’s dismay,
       the plan backfired when, relying on its interpretation of
       California law, the district court dismissed her claims for
       restitution because an adequate remedy at law, i.e., damages,
       was available.
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           Pursuant to Erie Railroad Co. v. Tompkins, 304 U.S. 64
       (1938), and Guaranty Trust Co. of New York v. York,
       326 U.S. 99 (1945), we hold that federal courts must apply
       equitable principles derived from federal common law to
       claims for equitable restitution under California’s Unfair
       Competition Law (“UCL”) and Consumers Legal Remedies
       Act (“CLRA”).

                                          I

           In March 2013, Vincent Mullins filed a putative class
       action regarding “Joint Juice,” a nutritional product
       manufactured, marketed, and sold by Defendant-Appellee
       Premier Nutrition Corporation (“Premier”).             After
       substituting as the proposed class representative and named
       plaintiff, Sonner amended the complaint in September 2014.
       In April 2016, the district court certified a class of all
       California consumers who had purchased Joint Juice since
       March 1, 2009.

           The basis for the lawsuit is false advertising. In its
       marketing materials, Premier touts Joint Juice as a dietary
       supplement beverage that supports and nourishes cartilage,
       lubricates joints, and improves joint comfort. 1 But,
       according to Sonner, Joint Juice fails to provide its
       advertised health benefits.

           As originally pleaded, the complaint demanded
       injunctive relief under the UCL and CLRA, restitution under
       the UCL and CLRA, and damages under an Illinois
       consumer protection statute. In the first amended complaint,
       Sonner dropped her claim under Illinois law and amended

           1
            We treat all factual allegations in the operative complaint as true.
       See Dougherty v. City of Covina, 654 F.3d 892, 897 (9th Cir. 2011).
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       the CLRA claim to seek damages because Premier failed to
       correct the alleged CLRA violations pursuant to California
       Civil Code § 1782. Both complaints demanded a jury trial.

            For years, the litigation proceeded in the typical fashion.
       Both sides took discovery, engaged in motion practice, and
       prepared for the looming jury trial. But less than two months
       before trial was scheduled to begin, and after defeating
       Premier’s summary judgment efforts, Sonner sought leave
       to file a second amended complaint to drop the CLRA
       damages claim. This strategy raises an obvious question:
       why would Sonner voluntarily abandon an ostensibly viable
       claim on the eve of trial after more than four years of
       litigation? The answer is also obvious: to request that the
       district court judge award the class $32,000,000 as
       restitution, rather than having to persuade a jury to award
       this amount as damages.

           Premier opposed the motion for leave. Citing futility,
       Premier urged that Sonner’s proposed second amended
       complaint would require dismissal of the restitution claims
       pursuant to California’s inadequate-remedy-at-law doctrine.
       Without the CLRA damages claim, Premier argued, the
       proposed complaint failed to state viable claims for
       restitution because an adequate legal remedy—damages—
       was available for that injury.

           During oral argument on the motion, the district court
       warned Sonner that if it granted the motion and she dropped
       the damages claim, “we are never going to hear again
       anything about a damage claim under the CLRA” and not to
       “put a lot of money” on a future motion to amend to re-allege
       the claim. The district court also explained that it would be
       “open season” on a motion to dismiss and that Sonner was
       taking a “chance” by dropping the damages claim.
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           The district court ultimately granted Sonner leave to
       amend and vacated the jury trial. Undeterred by Premier’s
       arguments and the district court’s warning, Sonner filed her
       second amended complaint in August 2017, dropping the
       CLRA damages claim. And, true to its word, Premier moved
       to dismiss the restitution claims pursuant to Federal Rule of
       Civil Procedure 12(b)(6), arguing that Sonner needed to—
       but could not—establish that she lacked an adequate legal
       remedy as required by both federal equitable principles and
       California law.

           After full briefing and oral argument, the district court
       granted Premier’s motion to dismiss.            Applying its
       interpretation of California law, the district court held that
       Sonner could not proceed on her equitable claims for
       restitution in lieu of a claim for damages. Specifically, the
       district court concluded that claims brought under the UCL
       and CLRA remained subject to California’s inadequate-
       remedy-at-law doctrine, and that Sonner failed to establish
       that she lacked an adequate legal remedy for the same past
       harm for which she sought equitable restitution. The district
       court also denied Sonner’s request to amend her complaint
       to reallege the CLRA damages claim. During oral argument
       on the motion, the district court explained that allowing
       Sonner to reassert the intentionally dropped claim under the
       circumstances would reflect “total prejudice to the court
       system,” would be “unfair” and “prejudicial” to Premier, and
       would constitute an “abuse of the court system.” After the
       district court entered judgment, Sonner timely appealed the
       order dismissing her claims for equitable restitution to this
       court.

           We review the district court’s decision to grant a motion
       to dismiss under Rule 12(b)(6) de novo, Fayer v. Vaughn,
       649 F.3d 1061, 1063–64 (9th Cir. 2011) (per curiam), and to
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       deny a request for leave to amend for abuse of discretion,
       DCD Progs., Ltd. v. Leighton, 833 F.2d 183, 186 (9th Cir.
       1987). We may affirm the district court’s dismissal of the
       complaint on any basis supported by the record. See
       Johnson v. Riverside Healthcare Sys., LP, 534 F.3d 1116,
       1121 (9th Cir. 2008).

                                          II

           Although not the basis for the district court’s decision,
       we must first resolve a threshold jurisdictional question: do
       federal equitable principles independently apply to Sonner’s
       equitable claims for restitution or must we, as a federal court,
       follow only the state law authorizing that equitable remedy?

           Sonner argues that because her UCL and CLRA claims
       arise under California law and our jurisdiction rests in
       diversity, state law alone decides whether she must show a
       lack of an adequate legal remedy before obtaining restitution
       under those statutes. And, according to Sonner, the
       California legislature abrogated the state’s inadequate-
       remedy-at-law doctrine for claims seeking equitable
       restitution under the UCL and CLRA. 2

          In contrast, Premier argues that federal courts in
       diversity are bound by traditional federal equitable
           2
             Sonner does not dispute that the restitution she seeks under the
       UCL and CLRA is restitution in equity, not restitution at law. See Great–
       W. Life & Annuity Ins. Co. v. Knudson, 534 U.S. 204, 214 (2002)
       (drawing a “fine distinction between restitution at law and restitution in
       equity”). And California courts have held that “the UCL provides only
       for equitable remedies.” See Hodge v. Superior Court, 51 Cal. Rptr. 3d
       519, 523 (Ct. App. 2006); see also Nationwide Biweekly Admin., Inc. v.
       Superior Court, No. S250047, 2020 WL 2107914, at *1 (Cal. 2020)
       (concluding that the “causes of action established by the UCL” are
       “equitable in nature”).
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       principles, including the requirement that the party pursuing
       equitable relief establish that it lacks an adequate legal
       remedy. Premier also contends that equitable claims for
       restitution under the UCL and CLRA remain subject to
       California’s inadequate-remedy-at-law doctrine.

                                     A

            It has long been the province of federal courts sitting in
       equity to apply a body of federal common law irrespective
       of state law. See Russell v. Southard, 53 U.S. (12 How.) 139,
       147 (1851). Under the doctrine first prescribed in Erie,
       however, federal courts exercising diversity jurisdiction
       must follow state substantive law and federal procedural law
       when adjudicating state law claims. See Hanna v. Plumer,
       380 U.S. 460, 465 (1965). To carry out the thorny task of
       identifying whether a law is substantive or procedural, we
       generally use an “outcome-determination test,” which asks
       whether applying federal law instead of state law would
       “significantly affect” the litigation’s outcome.           See
       Gasperini v. Ctr. for Humanities, Inc., 518 U.S. 415, 427
       (1996) (quoting York, 326 U.S. at 109). Thus, the outcome
       of a case in federal court should generally be “substantially
       the same, so far as legal rules determine the outcome of a
       litigation, as it would be if tried in a State court.” York,
       326 U.S. at 109.

           But when deciding between state and federal law, we do
       not rely on a rote litmus test. See Hanna, 380 U.S. at 467.
       Rather, we must be cognizant of Erie’s dual aims:
       “discouragement of forum-shopping and avoidance of
       inequitable administration of the laws.” Gasperini, 518 U.S.
       at 428 (quoting Hanna, 380 U.S. at 468); see also Semtek
       Int’l Inc. v. Lockheed Martin Corp., 531 U.S. 497, 508–09
       (2001).      And we should also consider the policies
       underpinning the applicable state and federal laws. See Byrd
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        v. Blue Ridge Rural Elec. Coop., Inc., 356 U.S. 525, 537–38
        (1958).

                                      B

            As a result of Erie, the scope and application of federal
        common law narrowed considerably. See Tex. Indus., Inc.
        v. Radcliff Materials, Inc., 451 U.S. 630, 641 (1981) (noting
        that “absent some congressional authorization . . . federal
        common law exists only in . . . narrow areas”).
        Nevertheless, since Erie, the Supreme Court has instructed
        that a federal court’s equitable authority remains cabined to
        the traditional powers exercised by English courts of equity,
        even for claims arising under state law. See York, 326 U.S.
        at 104–07.

            In York, the Court addressed whether a state’s statute of
        limitations could be asserted as a defense to an equitable
        claim arising under state law. See id. at 100–01, 107. When
        summarizing the applicability of Erie, the Court made clear
        that Congress provided that the forms and modes of
        proceeding in suits of equity should conform to the historic
        uses of courts of equity. See id. at 104–05. Writing for the
        Court, Justice Frankfurter explained:

                   In giving federal courts cognizance of
               equity suits in cases of diversity jurisdiction,
               Congress never gave, nor did the federal
               courts ever claim, the power to deny
               substantive rights created by State law or to
               create substantive rights denied by State law.

                   This does not mean that whatever
               equitable remedy is available in a State court
               must be available in a diversity suit in a
               federal court, or conversely, that a federal
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               court may not afford an equitable remedy not
               available in a State court. Equitable relief in
               a federal court is of course subject to
               restrictions: the suit must be within the
               traditional scope of equity as historically
               evolved in the English Court of Chancery; a
               plain, adequate and complete remedy at law
               must be wanting; explicit Congressional
               curtailment of equity powers must be
               respected; [and] the constitutional right to
               trial by jury cannot be evaded. That a State
               may authorize its courts to give equitable
               relief unhampered by any or all such
               restrictions cannot remove these fetters from
               the federal courts.

        Id. at 105–06 (internal quotation marks and citations
        omitted) (emphases added). The Court further instructed
        that “State law cannot define the remedies which a federal
        court must give simply because a federal court in diversity
        jurisdiction is available as an alternative tribunal to the
        State’s courts.” Id. at 106; see also Pusey & Jones Co. v.
        Hanssen, 261 U.S. 491, 497–98 (1923) (“That a remedial
        right to proceed in a federal court sitting in equity cannot be
        enlarged by a state statute is likewise clear. . . . The federal
        court may therefore be obliged to deny an equitable remedy
        which the plaintiff might have secured in state court.”).

            The Court also explained that “[t]he source of
        substantive rights enforced by a federal court under diversity
        jurisdiction . . . is the law of the States.” York, 326 U.S.
        at 112. Federal courts must therefore enforce “State-created
        substantive rights if the mode of proceeding and remedy
        [are] consonant with the traditional body of equitable
        remedies, practice and procedure.” Id. at 106.
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                                            C

             In accordance with York, we hold that a federal court
        must apply traditional equitable principles before awarding
        restitution under the UCL and CLRA. It has been a
        fundamental principle for well over a century that state law
        cannot expand or limit a federal court’s equitable authority.
        See Payne v. Hook, 74 U.S. (7 Wall.) 425, 430 (1868) (“The
        equity jurisdiction conferred on the Federal courts is the
        same that the High Court of Chancery in England possesses;
        is subject to neither limitation or restraint by State
        legislation, and is uniform throughout the different States of
        the Union.”). Erie intervened in 1938, of course, and the
        merger of law and equity followed soon after. But in
        seventy-five years, the Supreme Court has never repudiated
        its statements in York—offered seven years after Erie—that
        state law can neither broaden nor restrain a federal court’s
        power to issue equitable relief. 3


             3
               We recognize that the statute York cited to support the principle
        that a “plain, adequate and complete remedy at law must be wanting,”
        326 U.S. at 105, was repealed in 1948 after the merger of law and equity,
        see 28 U.S.C. § 384 (repealed 1948). That merger does not, however,
        affect the validity of the principle. See, e.g., Grupo Mexicano de
        Desarrollo S.A. v. All. Bond Fund, Inc., 527 U.S. 308, 322 (1999)
        (“Notwithstanding the fusion of law and equity by the Rules of Civil
        Procedure, the substantive principles of Courts of Chancery remain
        unaffected.” (quoting Stainback v. Mo Hock Ke Lok Po, 336 U.S. 368,
        382 n.26 (1949))); Oneida Indian Nation of N.Y. State v. Cty. of Oneida,
        464 F.2d 916, 922 (2d Cir. 1972) (“While [York] relied on § 16 of the
        Judiciary Act of 1789 (later Rev. Stat. § 723 and 28 U.S.C. § 384 (1940
        ed.)), which limited suits in equity to cases in which there was no ‘plain,
        adequate and complete remedy’ at law, and that statute was repealed in
        1948 as obsolete in view of the merger of law and equity under the
        Federal Rules of Civil Procedure, 62 Stat. 992, the principle remains
        intact.”), rev’d on other grounds, 414 U.S. 661 (1974).
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             To be sure, York suggests that the “outcome” of a lawsuit
        should be “substantially the same” regardless of whether it
        is filed in state or federal court, 326 U.S. at 109, and applying
        federal equitable principles may lead to a different result if,
        as Sonner contends, California abrogated its inadequate-
        remedy-at-law requirement for claims brought under the
        UCL and CLRA. But the Supreme Court clearly foresaw the
        possibility of this sort of inconsistency in York and
        concluded that federal courts must nonetheless apply
        principles of federal common law. See id. at 105–06.
        According to the Court, even if a state authorizes its courts
        to provide equitable relief when an adequate legal remedy
        exists, such relief may be unavailable in federal court
        because equitable remedies are subject to traditional
        equitable principles unaffected by state law. See id. at 105–
        06 & n.3. 4 Since York, the Court has never held or suggested
        that state law can expand a federal court’s equitable powers,
        even if allowing such expansion would ensure a similar
        outcome between state and federal tribunals.

           Additionally, the “outcome” of this litigation is not our
        “only consideration” as we must also balance the policies

             4
               Sonner characterizes the Court’s statements in York regarding
        equitable remedies as dicta, and some courts have endorsed that view.
        See New Mexico ex rel. Balderas v. Real Estate Law Ctr., P.C., 401 F.
        Supp. 3d 1229, 1349 n.93 (D.N.M. 2019); Bangor Baptist Church v.
        State of Me., Dep’t of Educ. & Cultural Servs., 576 F. Supp. 1299, 1314
        & n.21 (D. Me. 1983). Even if we construe these statements as dicta, we
        must “afford [them] a weight that is greater than ordinary judicial dicta
        as prophecy of what the [C]ourt might hold.” Nettles v. Grounds,
        830 F.3d 922, 930-31 (9th Cir. 2016) (en banc) (quoting Managed
        Pharmacy Care v. Sebelius, 716 F.3d 1235, 1246 (9th Cir. 2013)). And
        “[a]s a lower federal court, we are advised to follow the Supreme Court’s
        considered dicta.” Lemoge v. United States, 587 F.3d 1188, 1193 (9th
        Cir. 2009) (quoting Fernandez-Ruiz v. Gonzales, 466 F.3d 1121, 1129
        (9th Cir. 2006) (en banc)).
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        underlying the state and federal laws. See Byrd, 356 U.S. at
        537–38. Here, as in Byrd, the principle precluding courts
        from awarding equitable relief when an adequate legal
        remedy exists implicates the well-established federal policy
        of safeguarding the constitutional right to a trial by jury in
        federal court. See id. at 537–39 (state rules should not
        abridge a constitutional right to a jury trial in federal court);
        see also Scott v. Neely, 140 U.S. 106, 110 (1891)
        (“[W]henever, respecting any right violated, a court of law
        is competent to render a judgment affording a plain,
        adequate, and complete remedy, the party aggrieved must
        seek his remedy in such court . . . because the defendant has
        a constitutional right to a trial by jury . . . .”). Even assuming
        California decided as a matter of policy to streamline UCL
        and CLRA claims by abrogating the state’s inadequate-
        remedy-at-law doctrine, the strong federal policy protecting
        the constitutional right to a trial by jury outweighs that
        procedural interest.

            Sonner cites our decision in Sims Snowboards, Inc. v.
        Kelly, 863 F.2d 643 (9th Cir. 1988), to argue that a federal
        court sitting in diversity applies state law to determine the
        availability of equitable relief. But Sims does not control
        here. In that diversity action, the district court awarded the
        plaintiff a preliminary injunction under Federal Rule of Civil
        Procedure 65 despite a California statute expressly
        prohibiting the issuance of an injunction under the
        circumstances. Id. at 646. We reversed and held that
        because “the outcome [of the case] is in large part
        determined at the preliminary injunction stage,” state law
        controls whether a federal court should grant preliminary
        injunctive relief. Id. at 647. And in accord with York, we
        noted that “[t]he general equitable powers of federal courts
        should not enable a party suing in diversity to obtain an
        injunction if state law clearly rejects the availability of that
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        remedy.” Id.; see York, 326 U.S. at 110 (“Plainly enough, a
        statute that would completely bar recovery in a suit if
        brought in a State court bears on a State created right vitally
        and not merely formally or negligibly. As to consequences
        that so intimately affect recovery or non-recovery a federal
        court in a diversity case should follow State law.”).

            In contrast to Sims, we must now decide whether a
        federal court sitting in diversity can award equitable
        restitution under state law if an adequate legal remedy exists.
        Injunctive relief is not at issue, nor is Sonner exploiting the
        federal judiciary to access a remedy that California “clearly
        rejects.” See Sims, 863 F.2d at 647. Our inquiry instead
        aligns directly with the rigid restrictions on a federal court’s
        equitable powers explicitly enumerated in York. Indeed,
        since Sims, we have confirmed that a state “statute does not
        change the nature of the federal courts’ equitable powers.”
        See Can. Life Assurance Co. v. LaPeter, 563 F.3d 837, 843
        (9th Cir. 2009) (holding that federal equitable principles
        govern the appointment of a receiver independent of state
        law); see also Barranco v. 3D Sys. Corp., 952 F.3d 1122,
        1129 (9th Cir. 2020) (recognizing, in a diversity action
        where state law allowed equitable relief, that “‘[t]he
        necessary prerequisite’ for a court to award equitable
        remedies is ‘the absence of an adequate remedy at law’”
        (quoting Dairy Queen, Inc. v. Wood, 369 U.S. 469, 478
        (1962))). 5


            5
              Sonner’s reliance on McKesson HBOC, Inc. v. New York State
        Common Retirement Fund, Inc., 339 F.3d 1087 (9th Cir. 2003), likewise
        does not support her desired outcome. McKesson addressed neither Erie
        nor York, and the court simply assumed that state law governed the
        availability of equitable remedies. See 339 F.3d at 1093-94. We thus
        are not bound by that decision. See, e.g., Galam v. Carmel (In re Larry’s
        Apartment, L.L.C.), 249 F.3d 832, 839 (9th Cir. 2001) (“[Q]uestions
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            Finally, our decision mirrors those of several other
        circuits, which have concluded, consistent with York, that
        state law cannot circumscribe a federal court’s equitable
        powers even when state law affords the rule of decision. See
        Davilla v. Enable Midstream Partners L.P., 913 F.3d 959,
        972–73 (10th Cir. 2019) (“The Supreme Court has
        concluded that ‘State law cannot define the remedies which
        a federal court must give’ . . . . Thus, the practice of
        borrowing state rules of decision does not apply with equal
        force to determining appropriate remedies, especially
        equitable remedies, as it does to defining actionable rights.”
        (quoting York, 326 U.S. at 105)); 6 SSMC, Inc., N.V. v.
        Steffen, 102 F.3d 704, 708 (4th Cir. 1996) (rejecting the
        argument that district court erred in issuing a remedy beyond
        what state law permitted because “[s]tate law cannot define
        the remedies which a federal court must give simply because
        a federal court in diversity jurisdiction is available as an
        alternative tribunal to the State’s courts” (alteration in
        original) (quoting York, 326 U.S. at 106)); Perfect Fit Indus.,
        Inc. v. Acme Quilting Co., 646 F.2d 800, 806 (2d Cir. 1981)

        which merely lurk in the record, neither brought to the attention of the
        court nor ruled upon, are not to be considered as having so decided as to
        constitute precedents.” (quoting Webster v. Fall, 266 U.S. 507, 511
        (1925))); Lum v. City & Cty. of Honolulu, 963 F.2d 1167, 1170 n.1 (9th
        Cir. 1992) (noting that cases which “stumble into decisions on questions
        neither raised nor discussed by the parties or by the trial court are not
        treated as authoritative on those unstated assumptions and nonlitigated
        points”).
             6
               Prior to Davilla, then-Judge Gorsuch observed that “[w]hen
        addressing cases arising under the diversity statute, we’ve seen the
        Supreme Court has likewise suggested that diversity authority doesn’t
        necessarily endow federal district courts the power or authority to issue
        every form of equitable relief a state court might possess in the same
        situation.” Niemi v. Lasshofer, 728 F.3d 1252, 1259 (10th Cir. 2013)
        (citing York, 326 U.S. at 105).
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        (“State law does not govern the scope of the equity powers
        of the federal court; and this is so even when state law
        supplies the rule of decision.”); Oneida Indian Nation of N.Y.
        State, 464 F.2d at 922 (holding that “[i]t is settled that federal
        courts may not apply state statutes expanding equity
        jurisdiction beyond that prevailing when the Constitution
        was adopted,” including “cases in which there was no ‘plain,
        adequate and complete remedy at law’”); Clark Equip. Co.
        v. Armstrong Equip. Co., 431 F.2d 54, 57 (5th Cir. 1970)
        (“Federal courts in diversity cases [have] the power to
        enforce State-created substantive rights by well-recognized
        equitable remedies even though such remedy might not be
        available in the courts of the State.”); Hertz v. Record Publ’g
        Co. of Erie, 219 F.2d 397, 398 n.2 (3d Cir. 1955) (“Federal
        remedies are not limited or affected by state law.”); see also
        Nat’l P’ship Inv. Corp. v. Nat’l Hous. Dev. Corp., 153 F.3d
        1289, 1291–92 (11th Cir. 1998) (citing Pusey & Jones and
        York to hold that federal law governs the appointment of a
        receiver in a diversity case because the equitable remedy of
        receivership is not a substantive right); Aviation Supply
        Corp. v. R.S.B.I. Aerospace, Inc., 999 F.2d 314, 316 (8th Cir.
        1993) (holding that federal law and federal equitable
        principles govern the appointment of a receiver in a diversity
        case).

            At bottom, “[t]hat a State may authorize its courts to give
        equitable relief unhampered by” the “restriction[]” that an
        adequate remedy at law be unavailable “cannot remove
        th[at] fetter[] from the federal courts.” York, 326 U.S.
        at 105–06. Guided by that instruction, we hold that the
        traditional principles governing equitable remedies in
        federal courts, including the requisite inadequacy of legal
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        remedies, apply when a party requests restitution under the
        UCL and CLRA in a diversity action. 7

                                            D

            Under these principles, Sonner must establish that she
        lacks an adequate remedy at law before securing equitable
        restitution for past harm under the UCL and CLRA. See
        Mort v. United States, 86 F.3d 890, 892 (9th Cir. 1996) (“It
        is a basic doctrine of equity jurisprudence that courts of
        equity should not act . . . when the moving party has an
        adequate remedy at law.” (ellipsis in original) (quoting
        Morales v. Trans World Airlines, Inc., 504 U.S. 374, 381
        (1992))); see also, e.g., Franklin v. Gwinnett Cty. Pub. Sch.,
        503 U.S. 60, 75–76 (1992) (holding that when “remedies are
        equitable in nature . . . it is axiomatic that a court should
        determine the adequacy of a remedy in law before resorting
        to equitable relief”); Schroeder v. United States, 569 F.3d
        956, 963 (9th Cir. 2009) (“[E]quitable relief is not
        appropriate where an adequate remedy exists at law.”).

           Sonner fails to make such a showing. Initially, the
        operative complaint does not allege that Sonner lacks an
        adequate legal remedy. See O’Shea v. Littleton, 414 U.S.
        488, 502 (1974) (holding that a complaint seeking equitable
             7
              We need not linger long on Sonner’s argument that “under federal
        law” we look to the legislature’s intent with respect to “whether a statute
        provides for equitable remedies irrespective of an adequate-remedy-at-
        law.” The cases Sonner cites apply when equitable relief is sought under
        a federal statute, not a state statute. See United States v. Oakland
        Cannabis Buyers’ Coop., 532 U.S. 483, 497 (2001) (addressing
        injunctions under the Controlled Substances Act); Weinberger v.
        Romero-Barcelo, 456 U.S. 305, 316 (1982) (addressing injunctions
        under the Federal Water Pollution Control Act). Federal equitable
        principles are not subject to qualification by the intent of California’s
        legislature.
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        relief failed because it did not plead “the basic requisites of
        the issuance of equitable relief” including “the inadequacy
        of remedies at law”). More importantly, Sonner concedes
        that she seeks the same sum in equitable restitution as “a full
        refund of the purchase price”—$32,000,000—as she
        requested in damages to compensate her for the same past
        harm. Sonner fails to explain how the same amount of
        money for the exact same harm is inadequate or incomplete,
        and nothing in the record supports that conclusion. 8

            Accordingly, because Sonner fails to establish that she
        lacks an adequate remedy at law, we hold, albeit on
        alternative grounds, that the district court did not err in
        dismissing Sonner’s claims for equitable restitution under
        the UCL and CLRA.

                                           III

            Turning to the final issue before us, we conclude that the
        district court did not abuse its discretion in denying Sonner
        leave to amend her complaint for a third time to reallege the
        CLRA damages claim. Sonner strategically chose to amend
        her complaint on the eve of trial to drop her damages claim.
        Premier opposed Sonner’s request to amend, arguing that
        Sonner needed to establish a lack of legal remedy before
            8
               Sonner’s citation to American Life Insurance Co. v. Stewart,
        300 U.S. 203, 214 (1937), is unavailing. There, the Court held that “[a]
        remedy at law does not exclude one in equity unless it is equally prompt
        and certain and in other ways efficient.” Id. But Sonner fails to explain
        how damages are any less prompt, certain, or efficient than restitution,
        particularly when a jury trial for damages was just two months away
        when she amended her complaint. Likewise, that California enacted the
        UCL to create new “remedies” not “available at common law,” see
        Nationwide Biweekly Admin., Inc., 2020 WL 2107914 at *21, is not
        dispositive because it does not account for subsequently enacted statutes,
        such as the CLRA.
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        seeking equitable restitution and warning that it would file a
        motion to dismiss on that basis. The district court then
        cautioned Sonner prior to the amendment about the risk she
        was taking in dropping the damages claim on the eve of trial.
        Under these circumstances, the district court did not abuse
        its “particularly broad” discretion in denying leave to amend.
        See Chodos v. W. Publ’g Co., 292 F.3d 992, 1003 (9th Cir.
        2002) (citation omitted); see also AmerisourceBergen Corp.
        v. Dialysist W., Inc., 465 F.3d 946, 951 (9th Cir. 2006) (“[A]
        district court need not grant leave to amend where the
        amendment: (1) prejudices the opposing party; (2) is sought
        in bad faith; (3) produces an undue delay in litigation; or (4)
        is futile.”).

                                          IV

            Regardless of whether California authorizes its courts to
        award equitable restitution under the UCL and CLRA when
        a plain, adequate, and complete remedy exists at law, we
        hold that federal courts rely on federal equitable principles
        before allowing equitable restitution in such circumstances.
        And because Sonner fails to demonstrate that she lacks an
        adequate legal remedy in this case, we affirm the district
        court’s order dismissing her claims for restitution. 9

             AFFIRMED.




             9
              We deny Sonner’s request for judicial notice, and motion to certify
        a question to the California Supreme Court, because neither is relevant
        to the resolution of this appeal. See Santa Monica Food Not Bombs v.
        City of Santa Monica, 450 F.3d 1022, 1025 n.2 (9th Cir. 2006).
